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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
                              Case No. 6:19-cv-1908-Orl-78EJK

        WYNDHAM VACATION OWNERSHIP, INC., et al.,
            Plaintiffs,
        v.                                                       PLAINTIFFS’ RESPONSE TO
                                                                    INTERMARKETING’S
                                                                      OBJECTIONS TO
        SLATTERY, SOBEL & DECAMP, LLP, et al.,                    AMENDED REPORT AND
             Defendants.                                            RECOMMENDATION
        _________________________________________/

           Plaintiffs (“Wyndham”), respond in opposition to Defendant Intermarketing Media,

   LLC’s (“IM”) Objections to Amended Report and Recommendation of October 10, 2023

   (Doc. 1072) (the “Objection”). The Court should overrule IM’s objections to the Amended

   Report and Recommendation (Doc. 1065) (the “R&R”).

   I.      The Court Should Disregard Arguments Raised Through Incorporation

           The Objection improperly asserts arguments through reference to other filings,

   Obj., §§ I-II, VII, in violation of the Court’s Standing Order, providing that an objection may

   be “no longer than fifteen pages inclusive of all parts.” In re: Magistrate Orders and

   Reports and Recommendations, 6:23-mc-4-WWB (Feb. 10, 2023) (emphasis added).

   Courts routinely reject arguments incorporated by reference. See e.g. Gov't Emps. Ins.

   Co. v. Path Med., No. 8:17-CV-2848-T-17TGW, 2018 WL 11487963, at *1 (M.D. Fla. Mar.

   2, 2018).   The incorporated arguments significantly expand page limits and are an

   obvious attempt to circumvent such Court ordered limitations. See id. To the extent the

   Court considers the improper incorporated arguments, Wyndham provides its own

   substantive responses1 to such arguments through cross-reference due to its inability to


   1 Response to issues raised  in §§ I-II, VII are found in the contemporaneously filed
   opposition to co-Defendants’ (“Pandora”) objection to the R&R, specifically in §§ II-
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   respond within current page limits based on IM’s disregard of such limits.

   II.    The R&R Did not Err by Ignoring Defendants’ Cost Evidence

          The R&R did not err by disregarding Defendants’ evidence of expenses. The

   Objection argues that “[a]s business records, these QuickBooks records stand on their

   own and do not require a sponsoring witness.” Obj. at 1. This is incorrect 2. To fall under

   the business records exception, the records must be shown to meet the qualifications of

   a business record “by the testimony of the custodian or another qualified witness,” or by

   certification. Fed. R. Evid. 803(6)(D), 902(11). A foundation is thus required.

          The Court properly disregarded the QuickBooks records because neither IM nor

   Pandora authenticated the records. As to IM’s expenses, IM presented no evidence of

   its expenses at the August 9, 2023 hearing (“Evidentiary Hearing”). The only evidence of

   IM’s costs is a QuickBooks exhibit (Doc. 936-28), attached to Defendants’ Omnibus

   Response (Doc. 936) (the “Response”) to the underlying motions. The Objection argues

   that this exhibit is authenticated by the Declaration of Jason Krieck. However, the Krieck

   Declaration contains none3 of the necessary attestations. (Doc. 936-28 at 1-2); Fed. R.


   Disgorgement is not Punitive; III-Dasalla’s Exclusion; V-Breadth of Injunction; of such
   opposition brief. Wyndham appreciates that it is resorting to the same incorporation
   practice complained of herein but is unable to provide a substantive response to these
   supplemental arguments within the current page limits as noted in its Motion to Strike
   (Doc. 1075) seeking additional briefing space which remains pending although Wyndham
   recognizes that the Court maintains a busy docket.
   2 The Objection’s cited case, Sec. & Exch. Comm'n v. Complete Bus. Sols. Grp., Inc.,

   2022 WL 14813743 (S.D. Fla. Oct. 25, 2022), does not support its contention. There, the
   court relied on a filed P&L statement, but referenced hearing testimony about the
   reliability of the exhibits. Id. at *8; id. at 12 n.13. The case does not state that a business
   record may be introduced without the proper foundation. See Roger Kennedy Const., Inc.
   v. Amerisure Ins. Co., 506 F. Supp. 2d 1185, 1192 (M.D. Fla. 2007) (unauthenticated
   documents filed in support of summary judgment motions were not considered).
   3 Specifically, absent from the Krieck declaration are attestations that the document meets

   the business record requirements of Rule 803(6)(D) and that Krieck is a custodian of the
   documents or another qualified person. Fed. R. Evid. 803(6)(D), 902(11).
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   Evid. 803(6)(D), 902(11). IM’s exhibit is thus unauthenticated and inadmissible as a

   business record. Kelecseny v. Chevron U.S.A., Inc., 2009 WL 10667062, *8 (S.D. Fla.

   June 4, 2009) (witness failed to authenticate exhibit making it inadmissible).

          As to Pandora’s4 expenses, two QuickBooks exhibits are at issue: (1) the exhibit

   submitted with the Response (Doc. 936-27) (the “Response Exhibit”) for 2016-2021 and

   accompanied by the Declaration of Catherine Tan (Doc. 936-25), and (2) the exhibit

   offered at the Evidentiary Hearing (Hr’g Ex. MD-63) (the “Hearing Exhibit”) for 2016-2023.

          As to the Hearing Exhibit, Pandora put forth Irene Dasalla as the sponsoring

   witness but the Court excluded her testimony. R&R at 9-11. Without another custodian,

   qualified witness, or certification, the Hearing Exhibit is inadmissible unauthenticated

   hearsay. Kelecseny, 2009 WL 10667062 at *8. Nor can the Tan Declaration provide

   sufficient foundation as such declaration relates to a different record containing different

   substantive information. Obj. at 1-2.

          As to the Response Exhibit, the R&R properly ignored such document. The exhibit

   is unreliable and unhelpful.5 Pandora did not introduce the underlying documents

   supporting the Response Exhibit, nor did any witness testify as to such supporting

   documents. Fed. R. Evid. 803(6)(E) (documents do not meet the business records

   hearsay exception if they lack trustworthiness). And, the Response Exhibit only lists




   4 Intermarketing makes argument in its Objection for the benefit of Pandora, revealing

   yet another obvious way in which page limitations are being strategically disregarded.
   5 In Bluegreen v. Timeshare Lawyers, Pandora presented the same evidence of costs.

   The court, considering both the records and sponsoring testimony, declined to deduct
   expenses for similar reasons, namely, that Pandora “did not present any testimony that
   tied the specific expenses listed on the P&L to the [Pandora’s] sales operation as it
   pertained to Bluegreen timeshare owners.” 20-cv-24681-RNS, Doc. 561 at 29 (S.D. Fla.
   Oct. 27, 2023); id. at 38 (stating “Defendants’ numbers are not reliable.”).
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   expenses in bulk format, providing no guidance to the Court as to how to make allocations

   as to the false advertising to Wyndham owners, a requirement for cost deductions. Nike

   Inc. v. Variety Wholesalers, Inc., 274 F. Supp. 2d 1352, 1373 (S.D. Ga. 2003), aff'd, 107

   F. App'x 183 (11th Cir. 2004) (costs must be “actually related” to the false advertising to

   be deducted); Deltona Transformer Corp. v. The Noco Co., 2023 WL 6376363, at *6 (M.D.

   Fla. Sept. 29, 2023) (questioning expenses exhibit where underlying documents weren’t

   provided and expenses were not tailored to the Defendant’s infringing sales).

   III.   Comparative False Advertising is not Required for a Disgorgement Award

          The Objection falsely claims that disgorgement is improper for non-comparative

   advertising. Obj. at 4-6. This misses the import of comparative vs. non-comparative

   advertising. Where advertising is “comparative,” plaintiff may invoke a presumption of

   harm. Merial LLC v. Fidopharm, Inc., 2014 WL 11930586, at *20 (N.D. Ga. Sept. 5, 2014).

   However, Wyndham never claimed entitlement to such presumption. Rather, Wyndham

   offered evidence of such harm; see infra §§ IV, VI; and the R&R notes harm to Wyndham.

   R&R at 12 (“Telemarketers…caused irreparable harm to Plaintiffs…”).

          None of the citations support IM’s conclusions. First, certain of the cases (involving

   trademark infringement) decline to award profits on grounds unrelated to plaintiff harm.

   See Slep-Tone Ent. Corp. v. Johnson, 518 F. App'x 815, 819 (11th Cir. 2013) (Difficulty

   identifying profits attributable to infringing activity); Charles Mfg. Co. v. Mercer, 737 F.2d

   891, 893 (11th Cir. 1983) (Factual determination there were no profits); Texas Pig Stands,

   Inc. v. Hard Rock Cafe Int'l, Inc., 951 F.2d 684, 696 (5th Cir. 1992) (Plaintiff failed to show

   harm to goodwill to support unjust enrichment finding and Court determined that injunction

   otherwise remedies the conduct.). Second, Hard Candy, LLC v. Anastasia Beverly Hills,

   Inc. was not even a profit determination decision but simply permitted an expert report to
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   establish that “factors, other than the use of the purported infringing mark,…contributed

   to the commercial success of the products at issue…” 2018 WL 10322164, at *7 (S.D.

   Fla. Jan. 13, 2018).     Third, TrafficSchool.com, Inc. v. Edriver Inc., reiterates the

   presumption in comparative cases that a plaintiff is entitled to profits without showing

   harm. 653 F.3d 820, 831 (9th Cir. 2011). Finally, the Objection fails to correctly quote 5

   McCarthy on Trademarks and Unfair Competition, § 30:59 which notes that, at its “origin,”

   disgorgement remedies were limited to comparative advertising cases, but then explains

   additional “modern” rationales to support disgorgement have since developed. Id.; see

   also Restatement Third, Unfair Competition § 37, comment b (recounting history of

   awarding profits; noting Courts no longer require a showing of direct competition).

          Thus, IM’s arguments as to comparative advertising are misplaced and irrelevant.

   IV.    The R&R’s Disgorgement Award is not Disproportionate

          The Objection mistakenly contends that Wyndham must prove actual damages or

   quantify its harm to receive disgorgement. Obj. at 6-7. Rather, “[t]he Lanham Act permits

   recovery of profits because actual damages are often difficult to prove.” Hard Candy,

   LLC v. Anastasia Beverly Hills, Inc., 921 F.3d 1343, 1353 (11th Cir. 2019). In Instant One

   Media, Inc. v. EzFauxDecor, LLC, the Eleventh Circuit found that the “disgorgement

   award is not affected” by the court’s determination that plaintiff had not presented

   adequate evidence of actual damages as “Lanham Act disgorgement is available without

   showing actual damages.” 2023 WL 2422196, at *3 n.1 (11th Cir. Mar. 9, 2023). Indeed,

   Hard Candy expressly states that in regard to disgorgement, “the focus is entirely on the

   alleged infringer's gain” and “the plaintiff is not required to present any evidence of

   particular financial harm that it suffered so as to justify legal redress.” 921 F.3d at 1354.

   Thus, a showing of actual damages or quantified harm is not required.
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          Nevertheless, the R&R found that Wyndham did suffer harm.               R&R at 12.

   Wyndham demonstrated harm independent of the outstanding loan balance when an

   owner defaults, namely, various foreclosure, remarketing, and carrying costs 6. Hr’g Tr.

   Vol. I at 101:13-102:12. Thus, arguments that Wyndham suffered no harm because of its

   issuance of IRS Form 1099-As is legally and factually irrelevant. See supra. To the extent

   the issue of the 1099-As are considered, they simply do not mitigate Wyndham’s harm as

   the Defendant-caused defaults deny Wyndham of the benefit of a second sale, and

   Wyndham has shown that its contracts are non-exclusive. Hr’g Ex. P-965; Hr’g Tr. Vol. 1

   at 71:23-72:11; 108:19-24; Restatement (Second) of Contracts § 347, comment f (1981);

   Graphic Assocs., Inc. v. Riviana Rest. Corp., 461 So. 2d 1011, 1014 (Fla. 4th DCA 1984).

          Similarly, reduction for loans reacquired after the Amended Complaint is improper.

   This is a standing argument. Wyndham has standing as to these defaulted loans, because

   they spring from a continuation of Defendants’ long-running unlawful practices. See

   Lawlor v. Loewe, 235 U.S. 522, 536 (1915) (“Damages accruing since the action began

   were allowed, but only such as were the consequence of acts done before and

   constituting part of the cause of action declared on.”); Dean Foods Co. v. Albrecht Dairy

   Co., 396 F.2d 652, 661 (8th Cir. 1968) (“Damages are limited to the date of filing of the

   complaint and may be recovered beyond that date only where it is shown that they have

   resulted from the original illegal acts which were the subject of the complaint.”). Here, the

   causes of action relate to ongoing advertising, tortious interference, and fraud that caused

   the same harm before and after the filing of the Amended Complaint. Thus, damages




   6 Such harm also formed the basis of the disgorgement award entered by this Court

   against the Defendants’ co-defendants following trial. See (Doc. 1034 at 12, 15, 17).
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   associated with any later-recovered interests “resulted from the original illegal acts which

   were the subject of the complaint.” Dean Foods Co., 396 F.2d at 661.

   V.     There is No Evidence That Wyndham Acted Inequitably

          The Objection incorrectly argues that Wyndham acted inequitably such that

   disgorgement was improper, and points to the Bluegreen litigation where the court

   commented on the conduct of Bluegreen in considering disgorgement. Obj. at 7-8.

          Any commentary by the Bluegreen Court as to Bluegreen’s behavior, a separate

   entity, cannot be imputed onto Wyndham. The Objection’s only support for this argument

   from this case and as to Wyndham is two pages of trial testimony from an owner as to his

   experience with Wyndham. Id. Not only was this testimony not before this Court during

   the Evidentiary Hearing or the underlying briefings7, a snippet of one owner’s experience

   with Wyndham is not enough to find that Wyndham acted inequitably, let alone so

   inequitably that disgorgement is unjustified. This argument should be denied.

   VI.    The Court Should Affirm the Finding of Irreparable Harm

          The Objection claims that the R&R erred in finding irreparable harm, because

   Wyndham did not quantify its damages. Obj. at 8. However, a requirement for injunctive

   relief is that there be no adequate remedy at law. Thomas v. Bryant, 614 F.3d 1288, 1317

   (11th Cir. 2010). For such reason, injunctive relief, like disgorgement, supra § IV, is most

   appropriate where damages can’t be quantified. See HornBlasters, LLC v. Gmirr, 2020

   WL 3250246, *3 (M.D. Fla. Apr. 1, 2020) (“This type of harm is almost impossible to

   quantify and to remedy absent injunctive relief and, therefore, injunctive relief is proper.”);



   7 Courts may (and routinely do) ignore arguments and evidence not presented to the

   Magistrate Judge but raised for the first time in an objection. See Williams v. McNeil, 557
   F.3d 1287, 1292 (11th Cir. 2009).
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   In re Collis, 2019 WL 10734095, *8 (Bankr. M.D. Fla. Apr. 11, 2019).

           Wyndham thus did not need to quantify its harm to be entitled to injunctive relief.

   The Objection then devolves into reiterations of IM’s standing arguments, addressed

   infra, §IX, and IM’s position that Wyndham has mitigated its harm, addressed supra, §IV.

   VII.    Scheduling of the Evidentiary Hearing did Not Prejudice IM

           IM’s desire for more time at the Evidentiary Hearing are not grounds for error. All

   parties were given the same amount of time to prepare and argue their case. Any failure

   to allocate their time appropriately is IM’s own failure, not the Court’s. Moreover,

   Wyndham’s counsel was also participating in the very same Bluegreen trial as Pandora

   and thus was faced with the same time constraints. Indeed, IM was not even a party to

   that case, thus it is unclear how IM could even be prejudiced by the Bluegreen trial.

           Nor was IM prejudiced by Wyndham’s exhibits. Obj. at 10. The majority of such

   documents were routine documents for the owners at issue (i.e., Jacada screenshots,

   Wyndham contracts and promissory notes, etc.), that were largely stipulated to by

   Defendants and admitted in bulk. Hr’g Tr. Vol. I at 76:7-81:12. They were produced in

   accordance with the Court’s deadlines, and took up little time at the Evidentiary Hearing.

           Finally, IM suffered no prejudice from Wyndham’s witness list, which contained

   only two witnesses, both of which were also on Defendants’ witness list. (Docs. 1036-37).

   Moreover, one of Wyndham’s witnesses, Ramona Harrington, was previously deposed in

   this case and testified at the bench trial, such that her testimony was well known to all.

   VIII.   The Amended Complaint Sufficiently States Claims for Relief

           The R&R correctly concluded that Wyndham stated claims for relief. As noted by

   the R&R, this issue has been answered in the affirmative in the Order denying

   Defendants’ Motion to Dismiss (Doc. 488), and in the Order sanctioning Defendants (Doc.

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   689 at 9-10). Similarly, whether Wyndham has standing based on the securitization

   process has been answered in the affirmative in the Order on Defendants’ Motions to

   Dismiss, (Doc. 844 (R&R), Doc. 922 (Order adopting R&R)), and in the Verdict against

   Defendants’ co-defendants (Doc. 1034, at 8-9) (the “Verdict”). The Objection argues,

   again, that Wyndham did not state claims for relief because it does not have standing.

   This issue has been squarely considered and rejected numerous times.

          This case may also be distinguished from Gilmour v. Gates, McDonald & Co., 382

   F.3d 1312 (11th Cir. 2004), cited by IM, because Wyndham did not assert a new claim at

   an inappropriate procedural posture like the plaintiff in Gilmour. Rather, the Amended

   Complaint alleges that Wyndham was injured by Defendants’ unlawful scheme. Am.

   Compl., ¶¶ 86, 205, 218, 220, 232-33, 242, 247-48. The Court found Wyndham had

   standing to bring these claims and stated claims for relief. Wyndham presented evidence

   of such injury at the Evidentiary Hearing, and the Court awarded equitable relief in the

   R&R. See Hr’g Tr. Vol. I at 15:14-23, 16:23-18:25, 101:13-102:12, 105:13-18, 105:17-

   106:07. Whether Wyndham pled the specifics of its securitization process is irrelevant 8.

   IX.    The R&R Correctly Determined that Wyndham has Standing

          Lastly, the Objection takes issue with the fact that the R&R did not specifically state

   that Wyndham suffered an “injury in fact,” or find that Wyndham reacquired the causes of

   action through reassignment of the loans. Obj. at 14-16. Should IM want to review such

   findings, it need only look to the Court’s adjudication of their Motion to Dismiss for lack of



   8 Also, that the R&R did not specifically address Defendants’ argument as to standing

   under the Lanham Act, is not a basis for finding error. Concepcion v. United States, 142
   S. Ct. 2389, 2404 (2022) (“[A] district court is not required to be persuaded by every
   argument parties make, and it may, in its discretion, dismiss arguments that it does not
   find compelling without a detailed explanation.”).
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   standing. There, the Court rejected the argument that Wyndham did not demonstrate an

   injury in fact, found that Wyndham reacquired the loans and causes of action, and

   otherwise found that Wyndham had standing. See (Doc. 844 at 10-12 (“The crux of the

   [Defendants’] argument appears to be that Plaintiffs cannot demonstrate the existence of

   an injury,” but finding that Wyndham did in fact allege an injury; id. at 12 (“Plaintiffs have

   established a clear, factual basis to support the existence of standing”); Doc. 922 at 9

   (“Plaintiffs have demonstrated repurchase of the majority of the relevant loans and the

   reacquisition of the underlying causes of action prior to filing the Amended Complaint.”).

          Wyndham reaffirmed at the Evidentiary Hearing, through the testimony of Mr.

   Hollingshead, how securitized loans are reassigned with causes of action to Wyndham,

   and how Wyndham is damaged when a loan defaults—in the amount of the loan balance,

   through other related injuries (loss of residuals, and various foreclosure, remarketing, and

   carrying costs), and through the interference with Wyndham’s relationship with its owners.

   Hr’g Tr. Vol. I at 15:14-23, 16:23-18:25, 101:13-102:12, 105:13-106:07. This is actual,

   concrete injury suffered by Wyndham because of Defendants’ conduct and constitutes

   injury in fact. Atkinson v. Wal-Mart Stores, Inc., 349 F. App'x 426, 428 (11th Cir. 2009).

   Respectfully submitted,                            Dated: November 7, 2023.

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